Case 2:20-cv-07219-SB-AFM Document 49 Filed 11/06/20 Page 1 of 2 Page ID #:1318

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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES - GENERAL


Case No.: 2:20-cv-07219-SB-AFM                                 Date:    11/6/2020


Title:    Elodia Vega v. Great American Insurance Company


Present: The Honorable        STANLEY BLUMENFELD, JR., U.S. District Judge
                   Victor Cruz                                       N/A
                   Deputy Clerk                                 Court Reporter

    Attorney(s) Present for Plaintiff(s):            Attorney(s) Present for Defendant(s):
                  None Appearing                               None Appearing

Proceedings:         [In Chambers] ORDER GRANTING MOTION TO AMEND
                     COMPLAINT AND REMANDING CASE TO STATE COURT

        Elodia Vega (Plaintiff) filed a Motion for Leave to Amend the Complaint
  and Motion to Remand. Dkt. Nos. 33, 34. She seeks leave to amend the complaint
  to add Western Trucking Insurance, Inc, which is a California corporation (which
  would destroy diversity jurisdiction). Dkt. Nos. 33 at 11; 34 at 2-4.

         Since the filing of the motions, Plaintiff and Defendant Great American
  Insurance Company have stipulated that “Plaintiff may amend the operative
  pleading to add claims against non-party Western Trucking Insurance, Inc.” and
  that upon this addition, “diversity jurisdiction fails,” requiring “remand[] to the
  Superior Court for the State of California.” Dkt. No. 46.

        It is proper here to allow the stipulated leave to amend the complaint and
  add a new party. Fed. R. Civ. P. 21 permits a change in parties “at any time” and
  Fed. R. Civ. P. 15(a)(2) allows a party to “amend its pleading . . . with the
  opposing party’s written consent.”


  CV-90 (12/02)                    CIVIL MINUTES – GENERAL             Initials of Deputy Clerk VPC

                                               1
Case 2:20-cv-07219-SB-AFM Document 49 Filed 11/06/20 Page 2 of 2 Page ID #:1319




       Thus, the Court GRANTS Plaintiff’s unopposed Motion for Leave to
 Amend the Complaint. The Court further GRANTS Plaintiff’s unopposed Motion
 to Remand. The case is hereby REMANDED to the state court from which it was
 removed.

          IT IS SO ORDERED.




 CV-90 (12/02)                CIVIL MINUTES – GENERAL       Initials of Deputy Clerk VPC

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